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Northeast - Harrison, Maine ae ae hie
Summer in the northeast just got better with Camp Laughing core is Bt
Grass in Harrison, Maine. A seasonal getaway for those age 21
and over, Camp Laughing Grass features brightly-colored rentable
cabins with all the necessary amenities, from air conditioning and
outdoor fire pits to smoking apparatuses. The resort is a perfect
destination for those looking to take in the natural wonders of
Maine with hiking and biking trails, as well as a nearby river for
kayaking, canoeing, as well as cool down dip. In keeping with

its canna perks, Camp Laughing Grass offers a daily happy hour
at 4:20 p.m., and a free continental breakfast to cure any wake
and bake munchies. Visit CampLaughingGrass.com to book your
summer site, a two night stay is required.

*LOCAL PICK - The Glarendon Ho
The Clarendon Hotel

hotel, located in the he hoenix. This four-star boutique
destination focuses on elevating the experience of every visitor
through a vibrant collection of guestrooms and suites that define
modern comfort. The Clarendon offers a select cannabis-friendly
room option which allows vaping, dabbing, flower, and more.
Cannabis amenities include a social club lounge that welcomes
the cannabis connoisseur to enjoy a favorite cultivar and good
company. While you indulge, learn about the exclusive Elevations
membership program and the insider events from the in-lounge
hospitality team. This team is also a great resource for local
dispensaries to visit, cannabis related activities, and general
information to help a new cannabis user on their journey in the
legalized state of Arizona. The Elevations lounge is available

to both hotel guests and Elevations members and features a
boutique of glass pieces for purchase. The Clarendon also features
a beautiful Skydeck rooftop to enjoy an Arizona sunset or your,
nightcap. To book your staycation visit clarendon.com.

| - Phoenix, Arizona oe
* Pt 1 ". r . . ane
nd Spa is Arizona's first cannabis friendly lene

Finding the best locations throughout the country that truly
embrace the cannabis community is a niche market ready to be
explored, Start planning your canna-holiday and savor a new
kind of travel experience where farm to table dining and flower

pairings are no longer a dream but a recommendation from your Goda must bee
cannabis concierge. ie

(6) FOLLOW US ON INSTAGR

2022 NEW TIMES | 420 GUIDE | Aprit 14TH-APRIL 20TH, 2022 29

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rece 3 i 2. oe Name: Jason Rich \
jae Wi te ARG | iff @ wAe _ Acct Num: TLOOOSS86342 |
Pee Tevipe St. Luke's Hospital, = astern.

= . ee oe [Location: Emergency Dept - TSL
Primary Provider: Minhas,Sajjad
Date: 03/26/22 ,

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Skin Tear (Skin Avulsion)

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A skin tear (skin avulsion) is a tearing of the top layer of skin, This commonly happens after altel 5’
or other injury. This is especially true if you have thinner skin, are an older adult, or ‘ie
steroids for long periods of time.

30 uw pe
Home care Sh Bg

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These guidelines will help you care for your wound at home:

® Keep the wound clean and dry for the first 24 tc 48 hours, or as your healthcare provider
advises.

® If there is a dressing or bandage, change it when it gets wet or dirty. Otherwise, leave it on
for the first 24 hours, then change it once a day or as often. “as the healthcare provider says.

® If stitches or staples were used, check the wou d every day,,

® After taking off the dressing, wash the area ger tly with soap and water. Clean as close to
the stitches as you can. Don’t wash or rub the stitches directly.

® After 3 days you can keep the bandages off the wound, unless told otherwise, or there is
continued drainage. Allew the wound to be ope 1 to the air.

® Keep a thin layer of antibiotic ointment on the <ut. This will ‘keep the wound clean, make it
easier to remove the stitches, and reduce sca: ng. . iat

® If your wound is oozing, you can put a nonstick dressing over it. Then, reapply the bandage

dressing as you were toid.

8 You can shower as usual after the first 24 hours, but don't g oak the area in water (no baths
or swirnrning) until the stitches or staples are taken out.

® If surgical tape was used, keep the area clean and dry. If it becomes wet, blot it dry with a
clean towel,

® Be very careful when removing tape or other cressings, or you may cause more skin tears.
Soaking the dressing in the shower for a few minutes will often loosen it and make it easier
to remove.

® If skin glue was used, don't put any creams, lo’ions, or antibiotic ointments on it. These can
dissolve the glue. Usually the glue will flake off in about 5 to ‘10 days by itself. Try to resist
piciing it off before that so the wound doesn't open up. When it gets wet, pat it dry.

Here is some information about medicine:

® You may use over-the-counter medicine such as acetaminophen, naproxen, or ibuprofen to
control pain, unless another pain medicine was given. If you have chronic liver or kidney
disease or ever had a stomach ulcer or gastrointestinal bleeding, talk with your healthcare
provider before using these medicines.

® If you were given antibiotics, take them until thy are all used up. It is important to finish
the antibiotics even if the wound looks better. ‘i .iis will ensure that the infection has cleared.

Follow-up care
Follow up with your healthcare provider, or as advised.
® Watch for any signs of infection, such as increasing redness, swelling, or pus coming out of

the wound. If this happens, don't wait for you. s="eduled visit. Instead, see your heaithcare
provider right away.

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Page 2 of 3

Tt
. } ® Name: Jason Rich
| re f [ § t | Acct Num: TLO005586342
ili 7 lh. Med Rec Num: LM30027786
Se Ears : Location: Emergency Dept - TSL

Primary Provider: Minhas,Sajjad
Date: 03/26/22

® Stitches or staples are usually taken out within 5 to 14 days. This varies depending on what
part of your body they are on, and the type of wound. Your provider will tell you how long
stitches or staples should be left in.

® If surgical tape was used, it's usually left on for ” to 10 days, You can remove surgical tape
after that unless you were told otherwise. if you try to remove it, and it's too hard, soaking
can help. Surgical tape strips will eventually fall off on their own. If the edges of the cut pull
apart, stop removing the tape or strips and follow up with your provider

® As mentioned above, skin glue will flake off by itself in 5 to 40 days, so you don't need te
pull it off,

If any X-rays were done, you will be notified of any changes that-tnay affect your care.

When to seek medical advice

Call your |,ealthcare provider right away if any of these occur:

® Increasing pain in the wound

® Redness, swelling, or pus coming from the wound

® Fever of 100.4°F (38°C) or higher, or as directed by your healthcare provider

® Sutures or staples come apart or fall out before your next aE pernurmgnt and the wound
edges look as if they wili re-open

® Surgical tape closures fall off before 7 days, and the wound. ‘edges look as if they will
re:spen

Bleeding not controlled by direct pressure

Dp

StayWell last reviewed this educational content »n 8/1/20 19°

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reserved. This information is not intended as a substilute for professional medical care. Always
follow your healthcare professional's instructions.

Procedural Sedation

Procedural Sedation

In certain circumstances the procedure that you unde: went while.in the ED will occasionally
require sedation. If you received any sedation during your ED stay, please follow the
PROCEDURAL SEDATION/CONSCIOUS SEDATION instructions below:

You have been given medicine by vein to sedate you ciiring your procedure today. This may have
included both a pain medicine and sleeping medicine. “lost of the effects have worn off; however,
you may continue to have some drowsiness for the ne :t 6-8 hours.

Follow These Instructions Carefully:

1. For the next 8 hours, you should be watched by a responsible adult. This person should make
sure your condition is not getting worse.

2. Do not take any oral medicine for pain or sleep during the next 4 hours since this might react
with the medicines you were given in the hospital, causing a much stronger response than usual.

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Case 2:22-cv-00250-ABJ Document 13 Filed 1/28/22 Page 56 of 72
ao Page 3 of 3

i . f 8 Name: Jason Rich

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: ill + be . 3] Med Rec Num: LM30027786
Location: Emergency Dept - TSL

Primary Provider: Minhas,Sajjad
Date: 03/26/22

3. Do not drink any alcohol for the next 24 hours.

4. Do not drive or operate dangerous machinery during the next 24 hours.

5. Do not make important business or personal decisions, or sign.legal documents during the next
24 hours.

Follow up with your doctor or this facility if you are not alert and back to your usual level of
activity within 12 hours.

Return to this facility immediately or contact your doctor if you begin to have any of the
following:

- Increased drowsiness.

- Increased weakness or dizziness.

- If you cannot be awakened.

- Your condition worsens in any other way.
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FEDERAL TRADE COMMISSION
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Consumer Report To The FTC “esem

The FTC cannot resolve individual complaints, but we can provide information about next steps to take. We share your report
with local, state, federal, and foreign law enforcement partners. Your report might be used to investigate cases in a legal proceeding.
Please read our Privacy Policy to learn how we protect your personal information, and when we share it outside the FTC.

About you
Name: karol magistrelli Email: magistrellikarol18@gmail.com
Address: 314 Foremaster Ln Phone:

Clty: Las Vegas State: Nevada Zip Code: 89101-1008

Country: USA

What happened

ivanka kashimer, jared kushner and donald trump are stealing the bulk of my judgment fund daily wiith congress, jeri williams, chiefs
baptista mesa, chief duggen chandler and gang, peison and joop kang, the obama family mob, eric holder, 53+ entertainers paid off
by ivanka to forge my name to the judgment fund, janine wheeler, james comey, siboin johnson, chris wray another cocaine addict
like trump, Ivanka and Jared and 100% of our representatives. they all got together nad have SEVERAL HIT MEN ON ME TODAY.
THESE THUGS NEED TO BE APPREHENDED AND IT IS MY CIVIL RIGHT TO WALK THE STREETS FREELY WITH MY DAUGHTERS
THAT THEY INTEND TO KILL FOR OUR MONEY AS WELL. THE PHX POLICE, LAS VEGAS POLICE AND MESA ARE ALL HERE
STALKING ME 24/7 WITH THE THUGS THEY HIRED ON EITHER SIDE OF MY APT AND THEY NEED TO BE APPREHENDE FOR
STALKING AND FOR TAKING THE BRIBE OR AGREEMENT TO STALK ME TO BEGIN WITH. IT IS A FELONY AND THEY ARE
TERRORIZING ME. ALL NIGHT | HAD TO LISTEN TO: GET OFF OF ME........ AND GROWLING FROM THE OTHER APT ALLEGEDLY ON
BLUES 24/7. TRUMP IS PLANTING BLANKETS AND HOODIES ALL OVER LIKE AN ARMY SLEPT OUTSIDE LAST NITE AND HE NEEDS
TO BE SHUT DOWN | NPRISON FOR TREASON AND HIRING OVER 1000 HIT MEN, THE OBAMAS ARE FILING AND HIRED OVER
1000 FROM ISIS AS BARACK |S a full fledged anti-christ wherein lies the problem. ALL THESE PEOPLE ARE COMMUNIST AND
ANTICHRIST AND WANT TO BLOW UP ISRAEL AND TLAIB, IVANKA AND OMAR SHOULD BE STOPPED FROM SELLING TANKS TO
IRAN, IRAQ JORDAN, WEST BANK AFGHANISTAN AND MORE AS IT IS TREASON,. PLEASE DO YOUR JOB. THEY ARE TRYING TO
KILL BOTH OF MY DAUGHTERS AS WELL. IVANKA PAID OFF HALLEY CENTER, SALVATION ARMY IN VEGAS, THE ENTIRE
COURTYARD, STAFF, GUARDS AND HOMELESS, SHADE TREE, ALL DV SHELTERS WHO TOOK HER MONEY! IN AZ AND NV, AND
THERE IS NOT ONE TRUSTWORTHY PERSON WHERE | AM AT ANY DAY OR TIME. ALL ARE ON THE TAKE. THAT GARY
MAGISTRELLI HAS STALKED ME SINCE JAN 1, 2001 AND NEEDS TO BE IN PRISON AND VANCE WHO JUST LET OUT IVANKA FOR
MILLIONS IN BRIBES NEEDS TO BE REMOVED AND PROSECUTED TO THE FULLEST EXTENT OF THE LAW. ALL THE FILERS OF MY
SUITS NEED TO BE IN PRISON AND NANCEY PELOSI NEEDS TO BE APPREHENDED AS SHE IS KNOWINGLY RUNNING
THOUSANDS OF BROTHELS KIDNAPPING MY KIDS WITH THE PHX POLICE, IVANKA AND JARED, LAS VEGAS POLICE, SHERIFF
LOMBARDO WHO HAS HIS DIRTY HANDS IN MY JUDGMENT FUND AND IS STALKING ME WITH ONE HIT MAN AFTER ANOTHER,
TRUMP PAID OFF THE MGR OF PCS METRO ON 35TH AND VAN BURAN AND THEY ALL NEED TO BE APPREHENDED ON 18 USC
1030 , THE CABLE AND COMMUNICATIONS ACT, 2511, 2516, 1962, 1001, FRAUD AND SWINDLES, AS MY CHILDREN AND | ARE IN
DANGER. EMERGENCY MOTION FOR SHELTER UNDER 288.5 CALIFORNIA PENAL CODE IMMEDIATELY AS THIS DV VICTIM AND
HER CHILDREN HAVE NO PLACE TO HIDE. THAT ALL HIT MEN AND THOSE WHO HIRED HIT MEN NEED TO BE PROSECUTED TO
THE FULLEST EXTENT OF THE LAW AND | NEED TO HELP MY KIDS ONE ON HEROIN DUE TO IVANKLUNK AND ONE NEEDS
ALZHEIMER MEDS AS TRUMP IS BRIBING DOCTORS. CIRCLE IN THE CITY AND BRIGHTSTAR NOT TO HELP MY DAUGHTERS AND
ONE UTAH JUDGE WROTE ORDERS TO HAVE ALL OF RACHELS TEETH PULLED IN RETALIATION. HE SHOULD HAVE HIS OWN
TEETH PULLED FIRST AS IT WOULD MAKE MORE ROOM FOR HIS FEET. HE IS CONSPIRING WITH JUDGE MURRAY SNOW WHO IS
SLEEPING WITH IVankaa, (salt Lick city, utah Is where his mormon roots are). karol magistrelli

How it started

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Case 2:22-Cv-00250-ABJ Document 13 Filed 11/28/22 Page 59 of 72
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